Dear Ms. Monroe:
The registrar of voters, Connie Huett, certified on October 13, 2004 the recall petition filed for the purpose of recalling Henry Stringer, Jr., School Board Member, District 7, Parish of LaSalle, which was received by the governor on October 18, 2004.  The certificate states:
NUMBER OF NAMES APPEARING ON THE PETITION = 426.
  NUMBER OF QUALIFIED ELECTORS OF THE VOTING AREA WHO'S SIGNATURES APPEAR ON THE PETITION:
ORIGINAL PETITION =      244.
        ADDITIONAL PETITION = 18.
TOTAL=                    262.
  TOTAL NUMBER OF ELECTORS IN THE VOTING AREA AS OF THE FILING OF THE PETITION WITH THE SECRETARY OF STATE ON JULY 16, 2004 = 898.
LSA-R.S. 18:1300.3(C) requires the registrar to send the original recall petition to the governor immediately after certification. Section 1300.7 requires the governor to issue a proclamation, within fifteen days after the petition is presented to her, to order an election to be held for the purpose of voting on the question of recall of the officer if the requirednumber of registered voters sign the petition for recall.
The registrar has certified that the petition contains a total of 262 qualified electors out of a total of 898 electors of the voting area. LSA-R.S. 18:1300.2(B) requires a recall petition to be "[s]igned by a number of the electors of the voting area as will in number equal not less than thirty-three and one-third percent of the number of the total electors of the voting area wherein and for which a recall election is petitioned; however, where fewer than one thousand qualified electors reside within the voting area, the petition shall be signed by not less than forty percent of said electors."  Forty percent of the total electors of the area (898) are 359.2.
The registrar certified a total of 262 qualified electors of the voting area whose signatures appeared on the petition, which number does not
meet the required forty percent (359.2). Therefore, it is the opinion of this office that the certified signatures on the recall petition are not
sufficient in number for the governor to issue a proclamation ordering a special election on the recall petition filed for the purpose of recalling Henry Stringer, Jr., School Board Member, District 7, Parish of LaSalle.
Trusting that this opinion is sufficient, we remain
Very truly yours,
                              CHARLES C. FOTI, JR. ATTORNEY GENERAL
                              ____________________________ ANGIE ROGERS LAPLACE Assistant Attorney General
CCF, JR./ARL:mjb